       CASE 0:21-cv-01238-HB Doc. 1-1 Filed 05/18/21 Page 1 of 5




STATE OF MINNESOTA                                                        IN DISTRICT COURT

COUNTY OF RAMSEY                                                SECOND JUDICIAL DISTRICT

Tashanna Bennett,
                                                              Case Type: Personal Injury
                                                              Court File Number:
                       Plaintiff,

V.                                                                         SUMMONS

Delta Airlines Inc.,
---------------
                       Defendant.


TO THE ABOVE NAMED DEFENDANT:

        1. YOU ARE BEING SUED. The Plaintiff has started a lawsuit against you:
Plaintiffs CompIaint against you is attached to this Summons. Do not throw these papers away.
They are official papers that affect your rights. You must respond to this lawsuit even though it
may, not yet be filed with the Court and there may be no Court fi1e number on this:;$ummohs: ,
      ' 2: ' YOU MUST REPLY WITHIN 20 DAYS TO PROTECT YOUR RIGHTS.
You must give or mail to the person who signed this Summons a written response called an
Answer within 20 days of the date on which you received this Summons. You must send a copy
of your Answer to the person who signed this Summons located at Bradshaw & Bryant, PLLC,
1505 Division Street,. Waite Park, MN 56387.

       3. YOU MUST RESPOND TO EACH CLAIM. The Answer is your written
response to Plaintiff's Complaint. In your Answer, you must state whether you agree or disagree
with each paragraph of the Complaint. If you believe Plaintiff should not be given everything
asked for in the Complaint, you must say so in your Answer.

        4. YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN
RESPONSE TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS
SUMMONS. If you do not Answer within 20 days, you will lose this case. You will not get to
tell your side of the story, and the Court may decide against you and award Plaintiff everything
asked for in the Complaint. If you do not want to contest the claims stated in the Complaint, you
do not need to respond. A Default Judgment can then be entered against you for the relief
requested in the Complaint.

        5. LEGAL ASSISTANCE. You may wisli to get legal help from a lawyer. IF you do
not have a lawyer, the Court Administrator may have information about places where you can
get legal assistance. Even if you cannot get legal heip, you must still provide a written
Answer to protect your rights or you may lose this case.




                                                                        EXHIBIT A
      CASE 0:21-cv-01238-HB Doc. 1-1 Filed 05/18/21 Page 2 of 5




       6. ALTERNATIVE DISPUTE RESOLUTION. The' parties may 'agree: to or be
ordered to participate i~i an alterilative resolution process. You must stili send your wr'itten
response to the Complai t everi ifyou expect to use alternative means of resolving.this dispute,


Dated this   C               of Apr'il; 2021.


                                                BRADSHAW 8i BRYANT, PLLC


                                                       _             -
                                                By:
                                                  Micl~acl.A Bryant, #218583`
                                                  Aftorney, for Plaintiff.
                                                  1505 Division Street
                                                  Waite Park; MN 5638.7
                                                  (320) 259-.5414
                                                  mike@minriesotapersonaliiijury:com
        CASE 0:21-cv-01238-HB Doc. 1-1 Filed 05/18/21 Page 3 of 5




STATE OF MINNESOTA                                                         IN DISTRICT COURT

COUNTY OF RAMSEY                                                 SECOND JUDICIAL DISTRICT

Tashanna Bennett,
                                                                Case Type: Personal Injury
                                                                Court File Number:
                       Plaintiff,

V.                                                                           COMPLAINT

Delta Airlines Inc.,

                       Defendant.


       Plaintiff Tashanna Bennett for her Complaint alleges:



       On or about May 3rd, 2015, Plaintiff Tashanna Bennett was a passenger on flight 1793.

This was on an airplane owned and operated by Defendant Delta Airlines Inc. The airplane was

coming from North Carolina to Minnesota.

                                                II.

       That Plaintiff Tashanna Bennett was seated in the last row of the airplane and was using

her sweatshirt as a cushion for her head. That the headrest on the airplane was not tall enough for

Plaintiff Tashanna Bennett to adequately lay her head on. That flight staff asked her to put her

sweatshirt down, and then excessive turbulence ensued. The pilot told passengers that things

could get bad.



       That as a result of the carelessness, negligence, and unlawful conduct of Defendant,

Plaintiff Tashanna Bennett was seriously and permanently injured when the turbulence and lack

of proper headrest caused her to hit her head against the back wall of the airplane.
        CASE 0:21-cv-01238-HB Doc. 1-1 Filed 05/18/21 Page 4 of 5




                                                    I'V.

        That Plaintiff Tashanna Bentiett has incurred medical arid other expenses :in t11e past arid

willincur niore in tlie future; has. suffered physical aiid mental pain in the.past and will 'suffer

niore iii the futuie; ha§ suffcred a loss of earniiig"s in.the past aiid will suffer nioie;loss in the

future, ,and fur.th;er has sttffered .pennanent impairment o.f..he.r ea,rriing> eapacity all ta :her damage

in.a siibstantial amouilt.



        WI-IEREFORE, Plaintiff Tashanna 13'ennett demandsJudgment against Defendant in a

reasonabl:e ainouiit in excess of.''F1fty Tliousand and iio/100 ($50;000.0:0) Dollars, to.gether. with

interest; ~cf)sts; and d.isbUrsements:




                                                 BRADSHAW & BRYANT,.PLLC



DATED::

                                                   Michael A. Bryant (IvIN License #218583)
                                                   1505 Division Street.
                                                   Waite Park; MN 5E387
                                                   Telephone:, (320) 259-5414
                                                   Attorney for Plaintiff
                                                   mikeQinii~nesotapersonalinjury: cam.
      CASE 0:21-cv-01238-HB Doc. 1-1 Filed 05/18/21 Page 5 of 5




                                        ACKNOWLEDGMENT

      Plaintiff aekriowledges sanctions may be imposed:under 1tilitiia.. Stat. §54:9.211..:



                                              BRAI)SHAW 8r BRYANT, PLLC




              ,                                                       _..

DATED:: "
                                             .IVlichacT A: Bryant, #2185$3.
                                              Attoriley for Pla'iYitiff
                                             1505 Division Street
                                              Waite Park;lvlN 5.G387
                                              (320) '259='5414
                                              mike@minnesotapersonalinjury.com
